Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 1 of 40




    EXHIBIT A
        Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 2 of 40
                    E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




                      IN THE IOWA DISTRICT COURT FOR DALLAS COUNTY

 TELA ROBINSON,
                                                        Case No. __________________
       Plaintiff,

 vs.                                                           ORIGINAL NOTICE

 CENTENE CORPORATION, CENTENE
 MANAGEMENT COMPANY, LLC, IOWA
 TOTAL CARE, INC., STEPHANIE WEIR,
 and CHRISTINA DUEA,

       Defendants.

TO: THE ABOVE-NAMED DEFENDANTS:

         YOU ARE NOTIFIED that a petition has been filed in the office of the Clerk of this Court
naming you as a Defendant in this action. A copy of the Petition (and any documents filed with it)
is attached to this notice. The attorneys for the Plaintiff are Bruce H. Stoltze, Jr., and Amanda M.
Bartusek of Stoltze & Stoltze, PLC, whose address is 300 Walnut Street, Suite 260, Des Moines,
Iowa 5030, telephone number (515) 244-1473, facsimile (515) 244-3930 and email:
bj.stoltze@stoltzelaw.com and amanda.bartusek@stoltzelaw.com.

        You must serve a motion or answer within twenty (20) days after service of this Original
Notice upon you and, within a reasonable time thereafter, file your Motion or Answer, with the
Clerk of Court for Iowa District Court for Dallas County, at the Courthouse in Adel, Iowa. If you
do not, judgment by default will be rendered against you for the relief demanded in the Petition.

       This case has been filed in a county that utilizes electronic filing. General rules and
information on electronic filing are contained in Iowa Court Rules Chapter 16. Information
regarding requirements related to the protection of personal information in court filings is
contained in Iowa court Rules Chapter 16, division VI.

         If you need assistance to participate in court because of a disability, immediately call the
disability coordinator at 515-286-3394. Persons, who are hearing or speech impaired, may call
Relay Iowa TTY at 1-800-735-2942. Disability coordinators cannot provide legal advice.


                    IMPORTANT: YOU ARE ADVISED TO SEEK LEGAL ADVICE
                             AT ONCE TO PROTECT YOUR INTERESTS
               Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 3 of 40
                           E-FILED 2021 OCT 22 8:27 AM DALLAS - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACV043243
                                                                   County         Dallas

Case Title           TELA ROBINSON V. CENTENE CORPORATION, ET AL.

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (515) 286-3394 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 10/22/2021 08:27:43 AM




District Clerk of Dallas         County
 /s/ Adam Juckette
      Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 4 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




                    IN THE IOWA DISTRICT COURT FOR DALLAS COUNTY

 TELA ROBINSON,                                              Case No.

       Plaintiff,

 v.                                                    PLAINTIFF’S PETITION AT LAW AND
                                                                JURY DEMAND
 CENTENE CORPORATION, CENTENE
 MANAGEMENT COMPANY, LLC, IOWA
 TOTAL CARE, INC., STEPHANIE WEIR,
 and CHRISTINA DUEA

       Defendants.


       COMES NOW the Plaintiff, Tela Robinson, and for her Petition at Law and Jury Demand

against the Defendants, Centene Corporation, Centene Management Company, LLC, Iowa Total

Care, Inc., Stephanie Weir, and Christine Duea, respectfully states the following:

                                        INTRODUCTION

       1.      At all times pertinent hereto the Plaintiff, Tela Robinson, (hereinafter referred to as

“Plaintiff” or “Robinson”) was and is an individual and resident of Polk County, Iowa.

       2.      At all times pertinent hereto the Defendant Centene Corporation (hereinafter

referred to as “Centene Corporation”) was and is a corporation with a principal place of business

in the State of Missouri and which conducts significant business—including the operation of

subsidiaries—within the state of Iowa, including Dallas County, Iowa.

       3.      At all times pertinent hereto the Defendant, Centene Management Company, LLC,

(hereinafter referred to as “Centene Management Company”) was and is a legal entity with its

home office in the State of Missouri, and which conducts significant business within the state of

Iowa, including Dallas County, Iowa.


                                                 1
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 5 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        4.     At all times pertinent hereto Defendant Centene Management Company was and is

a subsidiary of Defendant Centene Corporation, was managed and controlled by Defendant

Centene Corporation, and was the agent for and acting on behalf of Defendant Centene

Corporation.

        5.     At all times pertinent hereto the Defendant, Iowa Total Care, Inc., (hereinafter

referred to as “Iowa Total Care”) was and is an Iowa Corporation with its home office in West Des

Moines, Iowa in Dallas County, Iowa, incorporated in, and operating under the laws of the State

of Iowa.

        6.     At all times pertinent hereto Defendant Iowa Total Care was and is a subsidiary of

Defendant Centene Corporation, was managed and controlled by Defendant Centene Corporation,

and was the agent for and acting on behalf of Defendant Centene Corporation.

        7.     Upon information and belief, Defendants Centene Corporation, Centene

Management Company, and Iowa Total Care have four or more employees and had four or more

employees at the time of the events in question in this matter.

        8.     Upon information and belief, Defendant Stephanie Weir (hereinafter referred to as

“Weir”), was at all times material hereto, a Manager, Case Management Long Term Care for

Centene Corporation, Centene Management Company, and/or Iowa Total Care, and a resident of

Iowa.

        9.     Upon information and belief, Defendant Christina Duea (hereinafter referred to as

“Duea”), was at all times material hereto, a Human Resources Partner for Centene Corporation,

Centene Management Company and/or Iowa Total Care, and a resident of Iowa




                                                 2
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 6 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          10.   At all times material and relevant herein, Defendants Weir and Duea were acting

within the scope of their employment with Defendants Centene Corporation, Centene Management

Company and/or Iowa Total Care.

          11.   At all times material and relevant herein, Defendants Centene Corporation, Centene

Management Company, and Iowa Total Care, and or their employees and agents were acting

within the scope of their employment and/or agency with Centene Corporation, Centene

Management Company, and Iowa Total Care and were the agents acting for and on behalf of

Centene Corporation, Centene Management Company, and Iowa Total.

          12.   Jurisdiction is appropriate because all discriminatory and/or adverse actions, and

all acts that form the nexus at issue outlined herein took place in Dallas County, Iowa.

          13.   The amount in controversy in this matter exceeds the jurisdictional requirement for

this Court.

          14.   Plaintiff filed a complaint with the Iowa Civil Rights Commission, which was cross

filed with the U.S. Equal Employment Opportunity Commission.

          15.   Plaintiff was issued a right-to-sue letter on July 23, 2021.

          16.   Relief in this case is sought against the Defendants in their individual, personal and

official capacities and as respondent superior.

                                   FACTUAL BACKGROUND

          17.   Plaintiff repleads and reincorporates paragraphs 1–16 and 108–331 as if pled

herein.




                                                  3
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 7 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       18.    Defendant Centene Corporation is a Missouri-based corporation and managed care

organization that provides healthcare solutions to recipients of government-sponsored and

privately insured health care programs.

       19.    Defendant Iowa Total Care is a state-based subsidiary of Defendant Centene

Corporation and provides managed healthcare products and services, primarily through Medicaid

and Medicare as well as through commercial health insurance.

       20.    Defendant Centene Management Company is a subsidiary of Defendant Centene

Corporation and provides administrative and business support to state-based Centene Corporation

subsidiaries such as Iowa Total Care.

       21.    Plaintiff began her employment with Defendants Centene Corporation, Centene

Management Company and/or Iowa Total Care (hereinafter “Corporate Defendants”) on or about

April 29, 2019.

       22.    Plaintiff has been diagnosed with and receives treatment for a panic/anxiety

disorder.

       23.    Plaintiff is Black/African American.

       24.    Plaintiff is female.

       25.    Plaintiff is a lesbian.

       26.    At the time of Plaintiff’s termination, Plaintiff’s wife was pregnant and Plaintiff

was scheduled to take maternity leave at the end of that month.

       27.    Plaintiff was originally hired as a Program Coordinator II but transitioned to Case

Manager, Long Term Care Coordinator I on or about December 8, 2019.




                                                4
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 8 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        28.     As a Case Manager, Plaintiff was responsible for coordinating member services and

access to long-term care.

        29.     Defendant Stephanie Weir was a Manager, Case Management Long Term Care for

the Corporate Defendants and was Plaintiff’s immediate supervisor during her employment as a

Case Manager.

        30.     During Plaintiff’s training period as Case Manager, Defendant Weir assigned her

to a high-needs member who “preferred to work with black people.”

        31.     Plaintiff was one of only two Black employees on Weir’s team.

        32.     Plaintiff believed that this member would be better served by a coworker with more

experience.

        33.     Defendant Weir’s actions made Plaintiff very uncomfortable at being singled out.

        34.     Because she was relatively new to the Case Manager position, Plaintiff often had

to seek assistance from her Defendant Weir and other coworkers.

        35.     Defendant Weir was often unavailable during these inquiries only to follow up with

Plaintiff at a later time.

        36.     In April 2020, Defendant Weir contacted employees of Corporate Defendants,

including Plaintiff, to ask how they were handling the workplace changes that had resulted from

the COVID-19 pandemic.

        37.     These changes included an end to in-person client meetings, an increased need for

treatment plan updates, and additional State paperwork.

        38.     During that conversation, Plaintiff disclosed to Defendant Weir that she had a panic

disorder and concerns regarding COVID-19 and the drastically expanded caseload.


                                                 5
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 9 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




         39.    Defendant Weir immediately changed the subject and moved on with the

conversation.

         40.    Then, in May 2020, Plaintiff informed Defendant Weir that she and her wife were

expecting a baby at the end of September.

         41.    Plaintiff also informed her that she would be taking six to eight weeks of maternity

leave.

         42.    Defendant Weir immediately responded that Plaintiff “will want to double check

with HR about that.”

         43.    Defendant Weir’s tone suggested that she did not think Plaintiff qualified for

maternity leave.

         44.    After these disclosures, Plaintiff noted a shift in Defendant Wier’s availability and

demeanor.

         45.    Prior to the disclosures, Defendant Weir would respond promptly to Plaintiff’s

emails and interoffice messages.

         46.    Defendant Weir would readily share what she would normally do or what she found

easiest in similar situations.

         47.    At times, Defendant Weir would even call Plaintiff and spend 15 to 20 minutes

discussing her processes and reasons behind them. Defendant Weir would even apologize to

Plaintiff for giving more detail than was needed.

         48.    After disclosing her panic/anxiety disorder Plaintiff continued to reach out to

Defendant Weir for assistance as needed.

         49.    However, she often would not receive a response.


                                                  6
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 10 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




         50.   Meanwhile,     Plaintiff’s   coworkers   reported    that   Defendant    Weir    was

communicating with them.

         51.   In fact, Defendant Weir provided a lot of hands-on assistance to another male case

manager that started his employment not long after Plaintiff.

         52.   Defendant Weir would frequently offer praise and encouragement to this case

manager during meetings company meetings, and she would select him for special projects.

         53.   When Defendant Weir did respond to Plaintiff’s inquiries, she would instruct

Plaintiff to go look up the answer herself or advise Plaintiff that the questions would be discussed

in their biweekly one-on-one meetings.

         54.   However, these meetings sometimes would be canceled or postponed often without

explanation.

         55.   Sometimes Defendant Weir would not reschedule the meetings at all.

         56.   When the meetings did occur, Defendant Weir would brush Plaintiff’s questions

aside.

         57.   On one occasion, Plaintiff had a time-sensitive question, regarding data inputting

and coding work needed to complete state assessments.

         58.   Plaintiff sent Defendant Weir these questions via both e-mail and messenger, as

was their usual practice, but Defendant Weir did not respond in time.

         59.   Defendant Weir blamed Plaintiff and said Plaintiff should have called her even

though that was not an established channel of communication.

         60.   Defendant Weir’s lack of communication made Plaintiff feel that she did not have

her supervisor’s support.


                                                 7
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 11 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       61.     The change in Defendant Weir’s behavior was so pronounced that it seemed as

though Defendant Weir was actively trying to avoid assisting Plaintiff.

       62.     Because of the lack of communication from Defendant Weir, Plaintiff started

contacting senior case managers with questions instead.

       63.     At one point, one of these senior case managers asked a superior why Plaintiff was

not able to contact Defendant Weir directly.

       64.     During this time, Plaintiff nonetheless continued to complete all of her duties by

their assigned deadlines.

       65.     However, Defendant Weir once discouraged Plaintiff from updating assessments

to complete reports, but Defendant Weir then criticized Plaintiff for failing to update these

assessments in a timely fashion.

       66.     At no point did Plaintiff witness Defendant Weir treating another employee in this

manner.

       67.     Although other case managers were encouraged to develop their own tracking

system and monthly processes, Defendant Weir wanted Plaintiff to follow the processes that

Defendant Weir herself preferred.

       68.     Defendant Weir would send out a weekly report to inform case managers of how

many member contacts were needed that month, with the expectation that all of these member

contacts would be completed by month’s end

       69.     Defendant Weir advised Plaintiff that she did not like how Plaintiff structured her

schedule. Namely, that Plaintiff focused on paperwork and meetings at the beginning of the month

and focused on telephone contacts at the end of the month.


                                                8
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 12 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       70.     However, other employees structured their months in a similar way and did not

receive the same feedback from Defendant Weir.

       71.     On or about June 11, 2020, Plaintiff informed Defendant Weir that she was

experiencing physical health issues (Menorrhagia) due to uterine tumors.

       72.     Plaintiff asked to adjust her schedule for the day as she required an emergency

blood transfusion.

       73.     Plaintiff notified Defendant Weir that Plaintiff’s doctor had advised her that she

would need a hysterectomy to treat the condition.

       74.     Defendant Weir asked about the length of Plaintiff’s leave for the operation.

       75.     Plaintiff responded that her physician said that recovery could take between four

and eight weeks and told Defendant Weir that she would follow up once she had more information.

       76.     Plaintiff submitted a request for leave under the Family and Medical Leave Act on

or about July 21, 2020.

       77.     Plaintiff’s surgery was scheduled for July 29, 2020, and Defendants approved

Plaintiff’s request to begin FMLA leave on that date.

       78.     Plaintiff informed Defendant Weir and Human Resources of this date.

       79.     Plaintiff also submitted a claim for Short Term Disability benefits to begin on or

about August 5, 2020, and end on or about August 25, 2020.

       80.     This claim was approved, and these benefits were subsequently extended through

approximately September 2, 2020.




                                                9
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 13 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       81.     Not long before her request for FMLA leave, Plaintiff had received a positive

annual review in which her performance exceeded expectations and qualified her for a wage

increase.

       82.     However, on or about June 25, 2020—approximately four days before Plaintiff’s

scheduled surgery and the start of her FMLA leave—Defendant Weir told Plaintiff during their

biweekly meeting that she was being put on a monthly performance improvement plan.

       83.     Plaintiff was told that she was being placed on the performance improvement plan

because she allegedly missed a member contact at an earlier date.

       84.     Under the performance improvement plan, Plaintiff would be required to complete

all of her monthly contacts in three weeks instead of the four weeks allotted to the other employees.

       85.     The performance improvement plan was sent to Plaintiff via email and she was not

provided an opportunity to respond or voice concerns about the plan.

       86.     On this same day, Plaintiff received her four percent wage increase and incentive

that became effective on June 21, 2021, just prior to the approval of her FMLA leave.

       87.     The conflicting feedback confused Plaintiff.

       88.     Plaintiff’s workday performance metrics also did not indicate that she was

performing poorly.

       89.     Plaintiff began FMLA leave on or about June 29, 2020.

       90.     Prior to taking her FMLA leave, Plaintiff created a spreadsheet with her caseload

and assignments to assist the case manager that took over her work.

       91.     Plaintiff reviewed her caseload with Defendant Weir twice prior to taking her leave.

       92.     Plaintiff returned to work on September 3, 2020.


                                                 10
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 14 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          93.    Upon her return, Plaintiff received little communication from Defendant Weir.

          94.    Defendant Weir scheduled a meeting with Plaintiff to discuss caseload updates, but

this meeting was canceled and rescheduled a week later.

          95.    During this time, Plaintiff asked when her cases would be reassigned to her, but

Defendant Weir told her that this would be discussed in their upcoming meeting.

          96.    On or about September 10, 2020, Plaintiff and Defendant Weir met and Defendant

Weir told Plaintiff that a member on her caseload did not receive a letter that should have been

mailed.

          97.    This failure resulted in a fine.

          98.    Plaintiff did not know which case manager was assigned to this member during

Plaintiff’s leave, so she could not discuss with that case manager.

          99.    Defendant Weir gave Plaintiff the impression that she was expected to complete

this task while on leave.

          100.   Defendant Weir informed Plaintiff this failure was in violation of performance

improvement plan.

          101.   As a result, Defendant Weir did not reassign Plaintiff’s caseload to her.

          102.   Other employees had incurred fines for similar reasons and they had all continued

to work with their caseloads.

          103.   When Plaintiff asked what she needed to do and when she would be speaking to

Defendant Weir again, she was not given a date and was told to complete upcoming trainings if

they were available.




                                                    11
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 15 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          104.   Plaintiff experienced severe anxiety during this time period that required

medication.

          105.   Plaintiff asked Defendant Weir for updates but did not receive a response.

          106.   On or about September 17, 2020, Plaintiff had a Zoom meeting with Defendant

Weir and Defendant Duea, Human Resources Partner.

          107.   During this meeting, Defendants terminated Plaintiff’s employment.

      COUNT I—DISCRIMINATION—REAL OR PERCEIVED DISABILITY (IOWA

                                        CODE CHAPTER 216)

          108.   Plaintiff re-pleads and incorporates Paragraphs 1–107 and 134–331 as if pled

herein.

          109.   The Defendants treated Plaintiff differently in terms and conditions of her

employment based on her real or perceived disability.

          110.   Plaintiff has been diagnosed with and is being treated for panic disorder.

          111.   In April 2020, Plaintiff disclosed to Defendant Weir that she had a panic disorder

and concerns regarding COVID-19.

          112.   Prior to the disclosure, Defendant Weir would respond promptly to Plaintiff’s

emails and interoffice messages.

          113.   Defendant Weir would readily share what she would normally do or what she found

easiest in similar situations.

          114.   At times, Defendant Weir would even call Plaintiff and spend 15 to 20 minutes

discussing her processes and reasons behind them. Defendant Weir would even apologize to

Plaintiff for giving more detail than was needed.


                                                  12
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 16 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




         115.   After this disclosure, Defendant Wier’s availability and demeanor changed.

         116.   Plaintiff continued to reach out to Defendant Weir for assistance as needed but

would not receive a response.

         117.   Meanwhile,      Plaintiff’s   coworkers    reported   that   Defendant     Weir    was

communicating with them.

         118.   During this time, Plaintiff continued to complete all of her duties by their assigned

deadlines.

         119.   At no point did Plaintiff witness Defendant Weir treating another employee in the

manner she treated Plaintiff.

         120.   In fact, Defendant Weir provided a lot of hands-on assistance to another male case

manager that started not long after Plaintiff.

         121.   Defendant Weir would frequently offer praise and encouragement to this case

manager during meetings company meetings, and she would select him for special projects.

         122.   When Defendant Weir did respond to Plaintiff’s inquiries, she would instruct

Plaintiff to go look up the answer herself or advise Plaintiff that the questions would be discussed

in their biweekly one-on-one meetings.

         123.   However, these meetings sometimes would be canceled or postponed often without

explanation.

         124.   Sometimes Defendant Weir would not reschedule the meetings at all.

         125.   When the meetings did occur, Defendant Weir would brush Plaintiff’s questions

aside.

         126.   Defendants treated Plaintiff differently on the basis of a real or perceived disability.


                                                  13
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 17 of 40
                  E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          127.    Defendants then wrongfully terminated Plaintiff on the basis of her disability.

          128.    The disability discrimination consisted of the facts alleged above.

          129.    The disability discrimination consisted of other such facts as the evidence will

show.

          130.    The Defendants actions violated Iowa Code Chapter 216.

          131.    The Defendants actions violated Iowa Code Chapter 216 in such other ways as the

evidence may demonstrate.

          132.    Defendant’s actions were the proximate cause of Plaintiff’s damages.

          133.    Plaintiff has suffered the damages of loss of past and future wages, benefits and

other expenses, damages to reputation, pain and suffering, and his incurred attorney fees and

expenses and such other proximate damages as are shown by the evidence.

          WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

            COUNT II—DISCRIMINATION—REAL OR PERCEIVED DISABILITY

                 (AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12101, et seq.)

          134.    Plaintiff re-pleads and incorporates Paragraphs 1–133 and 165–331 as if pled

herein.

          135.    The Americans with Disabilities Act, 42 U.S.C. § 12101, et seq., prohibits

employers from discriminating against qualified individuals because of a disability “in regard to


                                                   14
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 18 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




job application procedures, the hiring, advancement, or discharge of employees, employee

compensation, job training, and other terms, conditions, and privileges of employment.” 42 U.S.C.

§ 12112.

       136.   Plaintiff has been diagnosed with and is being treated for panic disorder.

       137.   Plaintiff’s panic disorder limits at least one of Plaintiff’s major life activities.

       138.   Plaintiff was fully qualified to perform her job as Case Manager.

       139.   Plaintiff received a four percent wage increase and incentive that became effective

on June 21, 2021, because her performance exceeded expectations.

       140.   Defendants Centene Corporation, Centene Management Company, and Iowa Total

Care are covered employers under the ADA.

       141.   In April of 2020, Plaintiff disclosed to Defendant Weir that she had a panic disorder

and concerns regarding COVID-19.

       142.   After this disclosure, Plaintiff noted a shift in Defendant Wier’s availability and

demeanor.

       143.   Prior to the disclosure, Defendant Weir would respond promptly to Plaintiff’s

emails and interoffice messages.

       144.   Plaintiff continued to reach out to Defendant Weir for assistance as needed but

would not receive a response.

       145.   Meanwhile,     Plaintiff’s   coworkers     reported     that   Defendant     Weir      was

communicating with them.

       146.   During this time, Plaintiff continued to complete all of her duties by their assigned

deadlines.


                                                 15
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 19 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       147.    However, Defendant Weir once discouraged Plaintiff from updating assessments

to complete reports, but Defendant Weir then criticized Plaintiff for failing to update these

assessments in a timely fashion.

       148.    At no point did Plaintiff witness Defendant Weir treating another employee in this

manner.

       149.    Defendant Weir would send out a weekly report to inform case managers of how

many member contacts were needed that month, with the expectation that all of these member

contacts would be completed by month’s end

       150.    Defendant Weir advised Plaintiff that she did not like how Plaintiff structured her

schedule. Namely, that Plaintiff focused on paperwork and meetings at the beginning of the month

and focused on telephone contacts at the end of the month.

       151.    However, other employees structured their months in a similar way and did not

receive the same feedback from Defendant Weir.

       152.    On or about June 25, 2020, Defendant Weir told Plaintiff that she was being put on

a monthly performance improvement plan.

       153.    Plaintiff was told that she was being placed on the performance improvement plan

because she allegedly missed a member contact at an earlier date.

       154.    Under the performance improvement plan, Plaintiff would be required to complete

all of her monthly contacts in three weeks instead of the four weeks allotted to the other employees.

       155.    On or about September 17, 2020, Plaintiff’s employment was terminated during a

Zoom meeting with Defendant Weir and Defendant Duea, Human Resources Partner.




                                                 16
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 20 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        156.   The Defendants Plaintiff differently in terms and conditions of her employment

based on her real or perceived disability.

        157.   Defendants then wrongfully terminated Plaintiff on the basis of her disability.

        158.   The disability discrimination consisted of the facts alleged above.

        159.   The disability discrimination consisted of other such facts as the evidence will

show.

        160.   The Defendants actions violated 42 U.S.C. § 12101, et seq.

        161.   The Defendants actions violated 42 U.S.C. § 12101, et seq. in such other ways as

the evidence may demonstrate.

        162.   Defendant’s actions were the proximate cause of Plaintiff’s damages.

        163.   Plaintiff has suffered the damages of loss of past and future wages, benefits and

other expenses, damages to reputation, pain and suffering, and his incurred attorney fees and

expenses and such other proximate damages as are shown by the evidence.

        164.   The actions of Defendants were willful and wonton, which warrant an award of

punitive and/or liquidated damages.

        WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.




                                                   17
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 21 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




  COUNT III—DISCRIMINATION–SEXUAL ORIENTATION AND GENDER (IOWA

                                             CODE 216)

          165.   Plaintiff re-pleads and incorporates Paragraphs 1–164 and 185–331 as if pled

herein.

          166.   Plaintiff is female.

          167.   Plaintiff is a lesbian.

          168.   In May 2020, Plaintiff informed Defendant Weir that she and her wife were

expecting a baby at the end of September.

          169.   Plaintiff also informed her that she would be taking six to eight weeks of maternity

leave.

          170.   The Defendants in this case treated Plaintiff differently in the terms and

conditions of her employment based on her gender and/or sexual orientation.

          171.   Defendant Weir immediately responded that Plaintiff “will want to double check

with HR about that.”

          172.   Defendant Weir’s tone suggested that she did not think Plaintiff qualified for

maternity leave.

          173.   After this disclosure, Plaintiff noted a shift in Defendant Wier’s availability and

demeanor.

          174.   Prior to the disclosure, Defendant Weir would promptly respond to Plaintiff’s

emails and interoffice messages.

          175.   Plaintiff continued to reach out to Defendant Weir for assistance as needed but

would not receive a response.


                                                  18
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 22 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        176.   Meanwhile,      Plaintiff’s   coworkers   reported   that   Defendant    Weir    was

communicating with them.

        177.   During this time, Plaintiff continued to complete all of her duties by their assigned

deadlines.

        178.   Defendants then wrongfully terminated Plaintiff on the basis of her sexual

orientation and/or gender.

        179.   The disability discrimination consisted of the facts alleged above.

        180.   The disability discrimination consisted of other such facts as the evidence will

show.

        181.   The Defendants actions violated Iowa Code Chapter 216.

        182.   The Defendants actions violated Iowa Code Chapter 216 in such other ways as the

evidence may demonstrate.

        183.   Defendant’s actions were the proximate cause of Plaintiff’s damages.

        184.   Plaintiff has suffered the damages of loss of past and future wages, benefits and

other expenses, damages to reputation, pain and suffering, and his incurred attorney fees and

expenses and such other proximate damages as are shown by the evidence.

        WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.




                                                   19
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 23 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          COUNT IV—DISCRIMINATION—SEXUAL ORIENTATION/GENDER (TITLE

                                                       VII)

         185.    Plaintiff re-pleads paragraphs 1–184 and 206–331 as if stated herein.

         186.    Plaintiff is Black/African American.

         187.    Defendant discriminated against the Plaintiff based on her gender and sexual

orientation in violation of Title VII of the Civil Rights Act of 1964, as amended, and 42 USC

§ 1981.

         188.    Plaintiff is female.

         189.    Plaintiff is a lesbian.

         190.    In May 2020, Plaintiff informed Defendant Weir that she and her wife were

expecting a baby at the end of September.

         191.    Plaintiff also informed her that she would be taking six to eight weeks of maternity

leave.

          192.   Defendant Weir immediately responded that Plaintiff “will want to double check

with HR about that.”

          193.   Defendant Weir’s tone suggested that she did not think Plaintiff qualified for

maternity leave.

          194.   After this disclosure, Plaintiff noted a shift in Defendant Wier’s availability and

demeanor.

          195.   Prior to the disclosure, Defendant Weir would promptly respond to Plaintiff’s

emails and interoffice messages.




                                                  20
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 24 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        196.   Plaintiff continued to reach out to Defendant Weir for assistance as needed but

would not receive a response.

        197.   Defendants treated Plaintiff differently because she was a woman with a wife who

was pregnant and because she sought to take maternity leave as a result.

        198.   The Defendants in this case treated Plaintiff differently in the terms and

conditions of her employment based on her gender and/or sexual orientation.

        199.   Defendants then wrongfully terminated Plaintiff on the basis of her gender and/or

sexual orientation.

        200.   The disability discrimination consisted of the facts alleged above.

        201.   The disability discrimination consisted of other such facts as the evidence will

show.

        202.   The Defendants actions violated Title VII of the Civil Rights Act of 1964.

        203.   The Defendants actions violated Title VII of the Civil Rights Act of 1964 in such

other ways as the evidence may demonstrate.

        204.   Defendant’s actions were the proximate cause of Plaintiff’s damages.

        205.   Plaintiff has suffered the damages of loss of past and future wages, benefits and

other expenses, damages to reputation, pain and suffering, and his incurred attorney fees and

expenses and such other proximate damages as are shown by the evidence.

        206.   The actions of Defendants were willful and wonton, which warrant an award of

punitive and/or liquidated damages.

        WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.


                                                21
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 25 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

                COUNT V—DISCRIMINATION—PREGNANCY (IOWA CODE 216)

         207.   Plaintiff re-pleads paragraphs 1–206 and 217–331 as if stated herein.

         208.   Plaintiff is female.

         209.   In May 2020, Plaintiff informed Defendant Weir that she and her wife were

expecting a baby at the end of September.

         210.   Plaintiff also informed her that she would be taking six to eight weeks of maternity

leave.

         211.   Plaintiff suffered from adverse employment actions in the form of termination

because she was a woman who sought to take maternity leave.

         212.   The Defendants’ actions violated Iowa Code Chapter 216.

         213.   Defendants’ actions violated Iowa Code Chapter 216 in other ways such as the

evidence may demonstrate.

         214.   Defendants’ actions were the proximate cause of Plaintiff’s damages.

         215.   Plaintiff suffered the damages of loss of past and future wages, benefits and other

expenses, damage to reputation, pain and suffering, a loss of earnings and has incurred attorney

fees and expenses and such other proximate damages as are shown by the evidence.

         216.   Plaintiff’s losses are a direct result of the Defendant’s actions.

         WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.


                                                   22
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 26 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

           COUNT VI—DISCRIMINATION—PREGNANCY (TITLE VII/PREGNANCY

                                        DISCRIMINATION ACT)

         217.   Plaintiff re-pleads paragraphs 1–216 and 228–331 as if stated herein.

         218.   Plaintiff is female.

         219.   In May 2020, Plaintiff informed Defendant Weir that she and her wife were

expecting a baby at the end of September.

         220.   Plaintiff also informed her that she would be taking six to eight weeks of maternity

leave.

         221.   Plaintiff suffered from adverse employment actions in the form of termination

because she was a woman who sought to take pregnancy induced leave.

         222.   The Defendants’ actions violated the Pregnancy Discrimination Act. Civil Rights

Act of 1964, § 701(k), as amended, 42 U.S.C. § 2000e(k).

         223.   Defendants’ actions violated Pregnancy Discrimination Act in other ways such as

the evidence may demonstrate.

         224.   Defendants’ actions were the proximate cause of Plaintiff’s damages.

         225.   Plaintiff suffered the damages of loss of past and future wages, benefits and other

expenses, damage to reputation, pain and suffering, a loss of earnings and has incurred attorney

fees and expenses and such other proximate damages as are shown by the evidence.

         226.   Plaintiff’s losses are a direct result of the Defendant’s actions.


                                                   23
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 27 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          227.   The actions of Defendants were willful and wonton, which warrant an award of

punitive and/or liquidated damages.

          WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

                 COUNT VII—DISCRIMINATION—RACE (IOWA CODE 216)

          228.   Plaintiff re-pleads and incorporates Paragraphs 1–227 and 244–331 as if pled

herein.

          229.   Plaintiff is Black/African American.

          230.   Plaintiff was treated differently by Defendants based on her race.

          231.   Defendants treated Plaintiff differently than white employees.

          232.   During Plaintiff’s training period as Case Manager, Defendant Weir assigned her

to a high-needs member who “preferred to work with black people.”

          233.   Plaintiff was one of only two Black employees on Weir’s team.

          234.   Plaintiff believed that this member would be better served by a coworker with more

experience.

          235.   Defendant Weir’s actions made Plaintiff very uncomfortable at being singled out.

          236.   Because she was relatively new to the Case Manager position, Plaintiff often had

to seek assistance from her Defendant Weir and other coworkers.




                                                   24
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 28 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        237.    Defendant Weir was often unavailable during these inquiries only to follow up with

Plaintiff at a later time.

        238.    Plaintiff suffered from adverse employment actions in the form of termination as a

result of race discrimination.

        239.    The Defendants’ actions violated Iowa Code Chapter 216.

        240.    Defendants’ actions violated Iowa Code Chapter 216 in other ways such as the

evidence may demonstrate.

        241.    Plaintiff suffered damages as a result of the conduct on the Defendant.

        242.    Defendants’ actions were the proximate cause of Plaintiff’s damages.

        243.    Plaintiff suffered the damages of loss of past and future wages, benefits and other

expenses, damage to reputation, pain and suffering, a loss of earnings and has incurred attorney

fees and expenses and such other proximate damages as are shown by the evidence.

        WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

                       COUNT VIII—DISCRIMINATION—RACE (TITLE VII)

        244.    Plaintiff re-pleads paragraphs 1–243 and 263–331 as if stated herein.

        245.    Plaintiff is Black/African American.

        246.    Defendant discriminated against the Plaintiff based on her race in violation of Title

VII of the Civil Rights Act of 1964, as amended, and 42 USC § 1981.


                                                   25
     Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 29 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




        247.    Plaintiff was treated differently by Defendants based on her race.

        248.    Defendants treated Plaintiff differently than white employees.

        249.    During Plaintiff’s training period as Case Manager, Defendant Weir assigned her

to a high-needs member who “preferred to work with black people.”

        250.    Plaintiff was one of only two Black employees on Weir’s team.

        251.    Plaintiff believed that this member would be better served by a coworker with more

experience.

        252.    Defendant Weir’s actions made Plaintiff very uncomfortable at being singled out.

        253.    Because she was relatively new to the Case Manager position, Plaintiff often had

to seek assistance from her Defendant Weir and other coworkers.

        254.    Defendant Weir was often unavailable during these inquiries only to follow up with

Plaintiff at a later time.

        255.    Plaintiff suffered from adverse employment actions in the form of termination as a

result of race discrimination.

        256.    The Defendants’ actions violated Title VII of the Civil Rights Act of 1964, as

amended, and 42 USC § 1981.

        257.    Defendants’ actions violated Title VII of the Civil Rights Act of 1964, as amended,

and 42 USC § 1981 in other ways such as the evidence may demonstrate.

        258.    Plaintiff suffered damages as a result of the conduct on the Defendant.

        259.    Defendants’ actions were the proximate cause of Plaintiff’s damages.




                                                26
       Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 30 of 40
                E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




         260.   Plaintiff suffered the damages of loss of past and future wages, benefits and other

expenses, damage to reputation, pain and suffering, a loss of earnings and has incurred attorney

fees and expenses and such other proximate damages as are shown by the evidence.

         261.   The actions of Defendants were willful and wonton, which warrant an award of

punitive and/or liquidated damages.

         262.   Plaintiff’s losses are a direct result of the Defendant’s actions.

         WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

          COUNT IX—VIOLATION OF RIGHTS UNDER THE FAMILY AND MEDIAL

                                 LEAVE ACT (29 U.S.C. § 2601, et seq.)

         263.   Plaintiff re-pleads paragraphs 1–262 and 303–331 as if stated herein.

         264.   The Defendants’ actions in terminating the Plaintiff on the basis of disability,

race, sexual orientation, and gender as well as based her usage of FMLA leave, were in violation

of Plaintiff’s substantial rights under the Family and Medical Leave Act, 29 U.S.C. § 2601 et

seq.

         265.   Defendants Centene Corporation, Centene Management Company, and Iowa

Total Care are private employers with more than 50 employees.

         266.   Plaintiff worked for a covered employer.




                                                   27
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 31 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       267.    Plaintiff worked more than 1,250 hours during the 12 months prior to the start of

her FMLA leave.

       268.    Plaintiff worked at a location where 50 or more employees worked at her location

or within 75 miles of it.

       269.    Plaintiff worked for her employer for more than 12 months at the time she

requested FMLA leave.

       270.    On or about June 11, 2020, Plaintiff informed Defendant Weir that she was

experiencing physical health issues (Menorrhagia) due to uterine tumors.

       271.    Plaintiff asked to adjust her schedule for the day as she required an emergency

blood transfusion.

       272.    Plaintiff notified Defendant Weir that Plaintiff’s doctor had advised her that she

would need a hysterectomy to treat the condition.

       273.    Defendant Weir asked about the length of Plaintiff’s leave for the operation.

       274.    Plaintiff responded that her physician said that recovery could take between four

and eight weeks and told Defendant Weir that she would follow up once she had more information.

       275.    Plaintiff submitted a request for leave under the Family and Medical Leave Act on

or about July 21, 2020.

       276.    Plaintiff’s surgery was scheduled for July 29, 2020, and Defendants approved

Plaintiff’s request to begin FMLA leave on that date.

       277.    Plaintiff informed Defendant Weir and Human Resources of this date.

       278.    Plaintiff also submitted a claim for Short Term Disability benefits to begin on or

about August 5, 2020, and end on or about August 25, 2020.


                                               28
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 32 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       279.    This claim was approved, and these benefits were subsequently extended through

approximately September 2, 2020.

       280.    Not long before her request for FMLA leave, Plaintiff had received a positive

annual review in which her performance exceeded expectations and qualified her for a wage

increase.

       281.    On or about June 25, 2020—approximately four days before Plaintiff’s scheduled

surgery and the start of her FMLA leave—Defendant Weir told Plaintiff during their biweekly

meeting that she was being put on a monthly performance improvement plan.

       282.    Plaintiff was told that she was being placed on the performance improvement plan

because she allegedly missed a member contact at an earlier date.

       283.    Under the performance improvement plan, Plaintiff would be required to complete

all of her monthly contacts in three weeks instead of the four weeks allotted to the other employees.

       284.    The performance improvement plan was sent to Plaintiff via email and she was not

provided an opportunity to respond or voice concerns about the plan.

       285.    On this same day, Plaintiff received her four percent wage increase and incentive

that became effective on June 21, 2021, just before she was approved for FMLA leave.

       286.    Plaintiff’s workday performance metrics also did not indicate that she was

performing poorly.

       287.    Plaintiff began FMLA leave on or about June 29, 2020.

       288.    Prior to taking her FMLA leave, Plaintiff created a spreadsheet with her caseload

and assignments to assist the case manager that took over her work.

       289.    Plaintiff reviewed her caseload with Defendant Weir twice prior to taking her leave.


                                                 29
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 33 of 40
                 E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




          290.   Plaintiff returned to work on September 3, 2020.

          291.   Upon her return, Plaintiff received little communication from Defendant Weir.

          292.   On or about September 10, 2020, Plaintiff and Defendant. Weir met and Defendant

Weir told Plaintiff that a member on her caseload did not receive a letter that should have been

mailed.

          293.   This failure resulted in a fine.

          294.   Plaintiff did not know which case manager was assigned to this member during

Plaintiff’s leave, so she could not discuss with that case manager.

          295.   Defendant Weir gave Plaintiff the impression that she was expected to complete

this task while on leave.

          296.   Defendant Weir informed Plaintiff this failure was in violation of performance

improvement plan.

          297.   Other employees had incurred fines for similar reasons and they had all continued

to work with their caseloads.

          298.   When Plaintiff asked what she needed to do and when she would be speaking to

Defendant Weir again, she was not given a date and was told to complete upcoming trainings if

they were available.

          299.   On or about September 17, 2020, Plaintiff had a Zoom meeting with Defendant

Weir and Defendant Duea, Human Resources Partner.

          300.   During this meeting, Defendants terminated Plaintiff’s employment

          301.   The Defendants’ actions were both in violation of the Family and Medical Leave

Act in interfering and in retaliation for the Plaintiff exercising her rights pursuant to FMLA.


                                                    30
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 34 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       302.    As a proximate case of Defendants’ actions, Plaintiff has suffered general and

special damages, including past and continuing lost wages and benefits.

       303.    The actions of Defendants were willful and wonton, which warrant an award of

liquidated damages.

       WHEREFORE, the Plaintiff, Tela Robinson., respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory

damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.

    COUNT X—WRONGFUL TERMINATION—DISABILITY, GENDER, SEXUAL

                         ORIENTATION, PREGNANCY, AND RACE

       304.    Plaintiff repleads and incorporates Paragraphs 1–303 as if pled herein.

       305.    Plaintiff has been diagnosed with and is being treated for panic disorder.

       306.    Plaintiff is female.

       307.    Plaintiff is lesbian.

       308.    Plaintiff is Black/African American.

       309.    At the time of Plaintiff’s termination, Plaintiff’s wife was pregnant and Plaintiff

was seeking maternity leave.

       310.    On or about June 25, 2020—approximately four days before Plaintiff’s scheduled

surgery and the start of FMLA leave—Defendant Weir told Plaintiff during their biweekly meeting

that she was being put on a monthly performance improvement plan.




                                                   31
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 35 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       311.    However, on this same day, Plaintiff received a four percent wage increase and

incentive that became effective on June 21, 2021, because her performance exceeded expectations.

       312.    Plaintiff’s workday performance metrics also did not indicate that she was

performing poorly.

       313.    On or about September 10, 2020, after Plaintiff returned from FMLA leave Plaintiff

and Defendant. Weir met and Defendant Weir told Plaintiff that a member on her caseload did not

receive a letter that should have been mailed.

       314.    This failure resulted in a fine.

       315.    Plaintiff did not know which case manager was assigned to this member during

Plaintiff’s leave, so she could not discuss with that case manager.

       316.    Defendant Weir gave Plaintiff the impression that she was expected to complete

this task while on leave.

       317.    Defendant Weir informed Plaintiff this failure was in violation of performance

improvement plan.

       318.    Other employees had incurred fines for similar reasons and they had all continued

to work with their caseloads.

       319.    When Plaintiff asked what she needed to do and when she would be speaking to

Defendant Weir again, she was not given a date and was told to complete upcoming trainings if

they were available.

       320.    On or about September 17, 2020, Plaintiff had a Zoom meeting with Defendant

Weir and Defendant Duea, Human Resources Partner.

       321.    During this meeting, Defendants terminated Plaintiff’s employment


                                                  32
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 36 of 40
              E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




       322.    Defendants did not inform Plaintiff that she would be held responsible for her

coworkers contacting the members of her caseload while Plaintiff was on leave.

       323.    This action by the Defendant resulted in Plaintiff’s inability to rectify the issue

before it became a problem.

       324.    Plaintiff followed her supervisor’s instructions and completed trainings because her

supervisor did not assign her caseload back to her.

       325.    Defendant proceeded to terminate Plaintiff because of performance issues that were

directly caused by Defendants; lack of communication with Plaintiff.

       326.    Plaintiff’s termination was due, in part or in whole, to her disability, gender, sexual

orientation, race, and request for maternity leave.

       327.    The Defendants actions violated Iowa Code Chapter 216.

       328.    Defendants’ actions violated Iowa Code Chapter 216 in such other ways as the

evidence may demonstrate.

       329.    Defendants’ actions were the proximate cause of Plaintiff’s damages

       330.    Plaintiff suffered the damages of loss of past and future wages, benefits and other

expenses, damage to reputation, pain and suffering, a loss of earnings and has incurred attorney

fees and expenses and such other proximate damages as are shown by the evidence.

       331.    The actions of Defendants were willful and wonton, which warrant an award of

punitive and/or liquidated damages.

       WHEREFORE, the Plaintiff, Tela Robinson, respectfully prays for judgment against

Defendants Centene Corporation, Centene Management Company, LLC, Iowa Total Care, Inc.

Stephanie Weir, and Christina Duea in a sum deemed reasonable and proper for compensatory


                                                 33
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 37 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




damages past and future, lost wages, backpay, front pay, attorney fees, for cost and interest, and

such other or further relief as just and proper.



                                                        Respectfully submitted,

                                               By:      /s/Bruce H. Stoltze, Jr.
                                                        Bruce H. Stoltze, Jr. (AT0010694)
                                                        Amanda M. Bartusek (AT0011789)
                                                        STOLTZE & STOLTZE, PLC
                                                        300 Walnut Street, Ste. 260
                                                        Des Moines, Iowa 50309
                                                        Telephone: 515.244.1473
                                                        Facsimile: 515.244.3930
                                                        E-mail: bj.stoltze@stoltzelaw.com
                                                        E-mail: amanda.bartusek@stoltzelaw.com
                                                        ATTORNEYS FOR PLAINTIFF




                                                   34
    Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 38 of 40
               E-FILED 2021 OCT 21 4:22 PM DALLAS - CLERK OF DISTRICT COURT




                                      JURY DEMAND

        COMES NOW the Plaintiff, Tela Robinson, and hereby demands a trial by jury of all

issues properly triable to a jury.


                                                  Respectfully submitted,

                                           By:    /s/Bruce H. Stoltze, Jr.
                                                  Bruce H. Stoltze, Jr. (AT0010694)
                                                  Amanda M. Bartusek (AT0011789)
                                                  STOLTZE & STOLTZE, PLC
                                                  300 Walnut Street, Ste. 260
                                                  Des Moines, Iowa 50309
                                                  Telephone: 515.244.1473
                                                  Facsimile: 515.244.3930
                                                  E-mail: bj.stoltze@stoltzelaw.com
                                                  E-mail: amanda.bartusek@stoltzelaw.com
                                                  ATTORNEYS FOR PLAINTIFF




                                             35
      Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 39 of 40
                   E-FILED 2021 DEC 28 10:20 AM DALLAS - CLERK OF DISTRICT COURT




                     IN THE IOWA DISTRICT COURT FOR DALLAS COUNTY

 TELA ROBINSON,
                                                       Case No. LACV043243
      Plaintiff,

 v.
                                                    PLAINTIFF’S NOTICE OF DISMISSAL
                                                       WITHOUT PREJUDICE AS TO
 CENTENE CORPORATION, CENTENE                         COUNTS II, IV, VI, VIII, AND IX
 MANAGEMENT COMPANY, LLC, IOWA                      AGAINST DEFENDANTS STEPHANIE
 TOTAL CARE, INC., STEPHANIE WEIR,                  WEIR AND CHRISTINA DUEA ONLY
 and CHRISTINA DUEA,

      Defendants.


         COMES NOW the Plaintiff, Tela Robinson and hereby gives notice of her dismissal

without prejudice as to the following Counts against Defendants Stephanie Weir and Christina

Duea only:

      1. Count II—Discrimination—Real or Perceived Disability (Americans with Disabilities Act,

         42 U.S.C. § 12101, et seq.);

      2. Count IV—Discrimination—Sexual Orientation/Gender (Title VII);

      3. Count VI—Discrimination—Pregnancy (Title VII/Pregnancy Discrimination Act);

      4. Count VIII—Discrimination—Race (Title VII); and

      5. Count IX—Violation of Rights Under the Family and Medical Leave Act (29 U.S.C.

         § 2601, et seq.).

         This dismissal affects only the federal claims against individual Defendants Stephanie Weir

and Christina Duea. This dismissal does not affect these counts as to Defendants Centene

Corporation, Centene Management Company, LLC, and Iowa Total Care, Inc., nor does it affect

the remaining counts of Plaintiff’s Petition. This dismissal also does not affect the factual

allegations contained in paragraphs 134–64, 185–206, 217–27, 244–62, and 263–303.
   Case 4:21-cv-00407-SMR-HCA Document 1-1 Filed 12/29/21 Page 40 of 40
         E-FILED 2021 DEC 28 10:20 AM DALLAS - CLERK OF DISTRICT COURT




                                    Respectfully Submitted,

                             By:     /s/ Bruce H. Stoltze, Jr.
                                    Bruce H. Stoltze, Jr. (AT0010694)
                                    Amanda M. Bartusek (AT0011789)
                                    Stoltze & Stoltze, PLC
                                    300 Walnut Street, Ste. 260
                                    Des Moines, Iowa 50309
                                    Telephone : (515) 244-1473
                                    Facsimile : (515) 244-3930
                                    E-mail: bj.stoltze@stoltzelaw.com
                                    E-mail: amanda.bartusek@stoltzelaw.com
                                    ATTORNEYS FOR PLAINTIFF


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